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LAW OFFICES OF DAVID A. TORRES
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Attorney for Jose Trinidad Salas

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA, ) Case No.: 14-cr-00046-LJO-SKO

)
Plaintiff, ) MOTION TO QUASH WARRANT AND
) SUPPRESS EVIDENCE
)_
) Date: October 27, 2014
VS' g Time: 8:30 a.m.

JOSE TRINIDAD SALAS ) HOIlOl`abl€ LaWI‘€I'lC€ J. O’N€ll

)
Defendant. §

)

 

TO: BENJAMIN B. WAGNER, UNITED STATES ATTORNEY, LAUREL MONTOYA,
ASISTANT UNITED STATES ATTORNEY, COUNSEL FOR PLAINTIFF:

PLEASE TAKE NOTICE that on October 27, 2014 at 8:30 a.m., or as soon thereafter asl
counsel may be heard before the HONORABLE LAWRENCE J. O’NEIL, United States District
Court Judge, the defendant, Trinidad Salas, will bring on for hearing the following motion to
quash the Warrant Which Was based on the search of 125 54 Davis Road, McFarland, California
and the evidence found and statements Which Were taken at the time the search Was conducted

Dated: September 24, 2014 LAW OFFICE OF DAVID A. TORRES

BY: /s/David A. Torres
DAVID A. TORRES

Attomey for Jose Trinidad Salas

 

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STATEMENT OF THE FACTS

On February 18, 2014, Affiant, Special Agent Micah Sutrov, submitted an application for
a search warrant at 12254 Davis Road, McFarland, California. The Honorable Jennifer L.
Thurston authorized the search warrant on that same date. The affidavit in support of the search
warrant details Affiant’s experience and training. Affiant points out his years of experience with
drug investigations and his knowledge as to the common habits and customs of “narcotic
traffickers.” Specifically, he points out that narcotic traffickers typically place assets in names of
others and that traffickers commonly have fruits of their drug trafficking activities stored in their
home.

In support of Affiant’s request, Affiant details numerous intercepted calls made or
received by Jose Trinidad Salas. However, the affidavit begins with Affiant mentioning his
contacts with a confidential informant who claims that he knows Mr. Salas to be a “1arge scale
cocaine, methamphetamine, heroin and marijuana distributor and bulk cash smuggler.” Affiant
fiirther claimed that the Confidential Informant met up with Mr. Salas in .lanual'y 2013 at EM
Trucking. While at EM Trucking, Mr. Salas informed the Contidential Inf`onnant that the diesel
tanks were made with hidden compartments Mr. Salas received a truck and two suitcases from
the owner of EM Trucking as a gift. The Confidentia| Inl"ormant claimed that he was then
ordered by Mr. Salas to follow him as he drove back to 12254 Davis Road. He further was
ordered by Mr. Salas to cause the police to pull him over ii" the police began to follow Mr. Salas.
None of this information was corroborated by any outside source

In August of 2013, Affiant requested authorization for a wiretap of Mr. Salas’ phone

which was granted by the Honorable Lawrence J. O’Neill. At`fiant`S request to wiretap Mr.

 

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Salas’ phone continued until January 17, 2014. Through this five to six month span, Affiant
monitored numerous phone calls made or received by Mr. Salas.

¢ August 27, 2013: Mr. Salas called Jose Luis Vazquez Millan aka Chepe. They speak of
the “main guy out there” having an appointment to get a Visa. The conversation continues about
“some guys” wanting to meet someone trustworthy. Chepe later states, “Everything is good.
With, with a good number of rims and well everything.” The ca11 is continued and Chepe agrees
to bring $2000 to Mr. Salas during Mr. Salas’ lunch.

0 September 11, 2013: Chepe calls Mr. Salas in regards to a telephone number. Mr. Salas
indicates “I never talk to him. . .and l never see him.” Chepe states that there are things for him to
look at. Mr. Salas suggests that he call Guara. The conversation continues regarding everyone
there being at a standstill because no one can contact the person who changed his/her number.

0 September 17, 2013: Mr. Salas was informed that cops were getting ready to “bust a
mission” somewhere. He informed Mr. Salas that there were at the library on Kern and they
were going to raid a house. Mr. Salas speaks to another unknown male in regards to a possible
firearm located at his residence. He requested the unknown male to retrieve the possible firearm
because cops were getting together in McFarland. During the conversation the unknown male
states, “. . .you don’t have anything else around there?” Mr. Salas, “no. . .no. . .no. . . just that.”

0 September 28, 2013: Salas speaks to unknown male referred to as OSO. OSO indicates
that he was hired in the hood on one-eleven.

0 October 3, 2013: Darnell Taylor called Mr. Salas in regards to a broken gate. Mr. Taylor
was inquiring whether Mr. Salas had a motor for the gate and Mr. Salas informed him that he did
but the motor was too big so he should just get the motor fixed or replace it with small motor.

0 October 3, 2013: Mr. Salas speaks to a man named Eusubio. Eusubio discusses the

broken gate motor and he does not want to buy a new one. He informs Mr. Salas that he believes

 

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he can turn the power down on the big motor so it can work on the broken gate. The conversation
continues about the broken gate and how it opened but it won’t close. Eusubio then informs Mr.
Salas that Chepe wanted to buy a grey little Honda that Mr. Salas gave to Eusubio. Eusubio then
indicates that Eva’s father was giving Chepe “yada-yada” there. Eusubio states, “It seems like
they harvest there, uh grapes, right‘?” Mr. Salas states, “I think...oh, yes, yes. . .yes, that’s true."`
Eusubio indicated he would take ten of the grapes. As the conversation goes on, Mr. Salas
states, “How is the water there?” Eusubio states, “oh, man...well more less, dude...we’ve stalled
because of...the ride, but everything is good dude as soon as it gets fixed then they’ll leave,
yada-yada.”

0 October 3, 2013: Chepe calls Mr. Salas to inform him he changed the truck papers and
will take the papers to Mr. Salas.

0 October 16, 2013: Eusubio calls Mr. Salas about a “guy” getting arrested near Tio’s
Tacos. He states to Mr. Salas that he was on his way to do something and he got caught With
that shit. Mr. Salas shows concern for Chepe and the possibility of him being “bugged.” Mr.
Salas and Eusubio continue discussing what the “guy” needs to say in regards to the car. Laler
Eusubio informs Mr. Salas that the “guy’s” bail is $30,000. The discussion continues as to why
the bail is so low. Eusubio informs Mr. Salas that “D” is not here anymore. Mr. Salas at first did
not know who he was talking about but Eusubio informed Mr. Salas that “D” had to take care 01
something so he took off. He indicated that he told “D,” “I’ll send you a little bit, over there,
over where Corey was.”

0 October 16, 2013: Damell Deshawn Taylor calls Mr. Salas to tell him that he is out in

Mississippi with Corey. An unidentified male gets on the phone and informs Salas, “well. . .we’re

 

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trying to retire like you man.” Mr. Salas tells them to not do it because they just started. The
phone is returned to Mr. Taylor and Mr. Salas inquires as to when he is retuming.

0 October 16, 2013: Mr. Salas called Chepe. Chepe asks Mr. Salas if he heard about
Guara. Mr. Salas states, “Yes.” Chepe states, “Yeah, that’s how things are.”

0 October 19, 2013: Eusubio calls Mr. Salas and they speak of the “guy” who was
arrested. Eusubio states, he told him to not go over with Gordito if they just throw out his case.
Eusubio continues to state that he thinks if they let him go it’s just because they are trying to
watch him and see where he goes. Salas agreed. Eusubio and Mr. Salas continue there
conversation about using the “Benzillo” if the plates are changed. However, Mr. Salas, "‘No,
even if you changed the plates on that fucker dude, they know that one really well.” Eusubio then
asks Mr. Salas if the Avalanche he has over there is fixed. Mr. Salas states that everything
would need to be changed on the Avalanche. Mr. Salas later tells Eusubio his concern with
combining all that mess from there to here and if that happens they will not get out with what
they have. Eusubio then later agrees that he is going to have purchase a car at the dealership.

0 October 21, 2013: Eusubio calls Mr. Salas and they discuss “D.” Mr. Salas asks if “D”
did good over where he went. Eusubio states, “No.” Eusubio informs Mr. Salas “how was he
going to do good if they caught that guy.” Mr. Salas states, “He’s there and no yada-yada.” Mr.
Salas then inquires about the “guy” who was arrested. Eusubio indicates he does not have any
information but he was going to give him some money.

0 December 20, 2013: Mr. Salas received a call from a woman named Marta. Marta
informed Mr. Salas that the streets were blocked where Luis lives. Mr. Salas indicated that he did

not know what it was about and that he did not know any numbers to see what was occurring

 

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Mr. Salas then states, “Who knows...l can honestly tell you uh, I can tell that I don’t...well l
never, never speak with them.”

0 December 20, 2013: Mr. Salas speaks to Robert and asks him to ca11 his girl to see if “big
boy” is alright.

0 December 20, 2013: Robert calls Mr. Salas and tells him that “Big Boy” will try to call
him. Mr. Salas indicates that he is at work but that he will call him.

0 December 20, 2013: Robert calls Mr. Salas again and tells him that everything is all1
right. He informed Mr. Salas that the roads were blocked because there was a high speed chase.

0 December 24, 2013: Mr. Salas received an incoming text message from an unidentified
male: “Butibai k asiendo. Hope u have a good xmas eve foo I love u thank u for everything
butibai may God bless u witt life full of happiness, ur brother LU.”

Affiant lends his interpretation of the conversations he monitored based on his training

and experience. He explains that he believes Mr. Salas’ discussion confirm that he is the owner
of numerous cars and properties that are not in his name because he is the person called to make
decisions regarding the cars and properties He alleges that Mr. Salas talks in code during some
of his conversations For example, when “grapes” is mentioned Affiant indicates that this term is
often used for marijuana. Affiant claims when “water” is mentioned that is in reference to the
business He even claims when the term “out there” is stated, Mr. Salas is speaking of Mexico.

Affiant further provides information about two arrests made during the pendency of his
investigation The first arrest mentioned by Affiant was of Rodolfo Rodriguez aka Gualaquara.
Mr. Rodriguez was arrested on October 15, 2013 after a traffic stop. The car that Mr. Rodriguez
was driving was registered to Jose Millan Vazquez (Chepe). The arrest occurred near 3900 West

111th Place, which is believed to be owned by Mr. Salas. During the traffic stop, a sealed United

 

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States Postal box was seen in the front seat. During a later search of the package, suspected
methamphetamine was located. The second arrest occurred on or about November 15, 2013.
Damell Deshawn Taylor was arrested at the Amtrak station in Albuquerque, New Mexico.
When officers searched his checked in suitcase, 3.1 kilograms of methamphetamine was located.
Mr. Taylor was on his way to Jackson, Mississippi.

Based upon the abovementioned information, Affiant applied for a search warrant at

12254 Davis Road, McFarland Avenue to search for indicia of narcotics trafficking

LEGAL ARGUMENT

I.
REASONABLE EXPECTATION OF PRIVACY

The Fourth Amendment provides that ‘the right of the people to be secure in their
persons, houses, papers, and effects, against unreasonable searches and seizures, shall not be
violated. The Fourth Amendment protects people not places Katz v. United States, 389 U.S.
347, 351 (1967). Therefore, it is incumbent open the defendant to demonstrate a legitimate
expectation of privacy in the place searched or the thing seized. Rakas v. Illinios, 439 U.S. 128,
143 (1978). The capacity to claim the protection of the Fourth Amendment depends not upon
the property right in the invaded place but upon whether the person who claims the protection of
the Fourth Amendment has a legitimate expectation of privacy in the invaded place. M. at 143.
A person’s expectation of privacy is legitimate if it is one that society is prepared to recognize as
reasonable @, 389 U.S. at 361. Although not dispositive, one who owns or lawfully
possesses or controls property will in all likelihood have a legitimate expectation of privacy by
virtue of the right to exclude. Ra_kas, 439 U.S. at 143 n. 12.

Here, there is no question that Mr. Salas was more than a guest at the home searched. In

fact, it was attested to in the affidavit that it was clear that Mr. Salas had control over the

 

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residence. Therefore, Mr. Salas has a reasonable expectation of privacy at 12254 Davis Road,
McFarland, California and can challenge the warrant that was executed at the residence.
II.
THE WARRANT TO SEARCH THE PREMISES AT 12254 DAVIS ROAD
WAS NOT SUPPORTED BY PROBABLE CAUSE

In Illinois v. Gates (1983) U.S. 213, the Court emphasized, “The task of the issuing
magistrate is simply to make a practical, common sense decision whether, given all the
circumstances set forth in the affidavit before him, including the ‘veracity’ and ‘basis of
knowledge’ of persons supplying hearsay information, there is a fair probability that contraband
or evidence of crime will be found in a particular place.” IQ. at p. 238.

In establishing whether the affidavit has established a sufficient showing of probable
cause, a reviewing court should assess the opinions, conclusions and the reliability of the
information articulated in the affidavit. Thus, an affidavit, which relates conclusions without
revealing foundation facts to support the conclusions therein, is insufficient to establish probable
cause. “A mere conclusory statement. . . gives the magistrate virtually no basis at all for making a
judgment regarding probable cause...His action cannot be a mere ratification of the bare
conclusion of others.” 141 at p. 239.

In United States v. Garcia-Villalba, 585 F.3d 1223 (9th Cir., 2009), the Drug Enforcement
Agency (DEA) began an investigation which Agent Hackett went undercover. Hackett managed
to get introduced to a front-line dealer. Hackett purchased significant quantities 01
methamphetamine on five separate occasions Later, he bought heroin and cocaine. M. at p.
1225 . Agent Hacket obtained the front line dealers phone number, which became the focus 01
the investigation After a year of actual investigation, the DEA sought a wiretap application

During a two month period, over 2,700 calls were intercepted As the investigation continuedl

 

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the DEA unveiled new leads and requested additional wiretaps of other individuals Q. at p.
1226. Based on the information received from the four wiretaps, a search warrant was sought to
search four separate locations believed to be stash houses One of the four structures named was
located on Dunbar Road. This residence was referred to as the key stash house for narcotics and
money. The warrant was authorized by a magistrate judge. During the execution of the warrant
at the Dunbar residence, Agents located heroin, cocaine and methamphetamine Digital scales,
grams scales, sandwich bags, magazines for firearrns, ammunition, drug ledgers, wire transfer
receipts, bills and receipts were also located. E. at p. 1226.

Following a motion to suppress for lack of probable cause within the affidavit, the district
court granted the motion; however, applied the good faith exception and did not suppress the
evidence. The government opposed the district court’s finding contending that the “affidavit in
support of the search warrant adequately connected narcotics trafficking to the Dunbar Road
[residence].” E. at p. 1233. The Ninth Circuit agreed with the govemment.

The Ninth Circuit pointed out that the affidavit begins by listing the affiant’s
“professional experience and his personal experience with the investigation lt also asserts that
‘[p]ersons involved in drug trafficking conceal in their residences and businesses caches of
drugs’ Then, the affidavit spends ten pages discussing the information obtained through
electronic surveillance.” More specifically, the Ninth Circuit focused on Paragraph fifteen of the
affidavit, which reads as follows:

The DEA also has determined that [Cecilio, Armando], and Octaviano Armenta_

Aceves use [the] Dunbar Road, Mount Vernon, Washington [residence], as a

‘stash house’ or storage location for narcotics and or money for the organization

This location, known as the “choza” or shack, has been referred to by the

organization’s members on numerous intercepted telephone calls, often after

[Cecilio] receives an order for controlled substances Surveillance units have
followed vehicles of organization members traveling from their residences to

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the ‘choza’ immediately after [Cecilio] gave an order to deliver a controlled
substance to a customer. Q. at p. 1233, emphasis added.

Although the Ninth Circuit believed that many statements in the affidavit were
conclusory, the Court went on to point out that the affidavit contained portions that filled in the
missing details For instance, the affidavit asserts that intercepted telephone calls expressly
referred to the “choza” as the location where they met and where they went to bring and to pick
up drugs and that surveillance units followed organization members to 17900 Dunbar Road
immediately after the wiretap picked up impending news of a transaction Even more, “within
the affidavit, the government represented that DEA agents actually saw members of the
organization frequent 17900 Dunbar Road immediately after hearing news on the wiretap of an
impending drug transaction.” When read together with the rest of the affidavit, these assertions
establish a “fair probability” that drugs were stored at the Dunbar residence. E. at p. 1234.

In the current case, Affiant provided nothing but conclusory statements unlike the affiant
in Garcia-Villalba. Within those conclusory statements, Affiant did not fill in the blanks with
actual observations corroborating the allegations set forth. Instead, Affiant gives his own
unfounded interpretation of the conversations held by Mr. Salas. For instance, Affiant
intercepted a call on August 27, 2013. During this call Mr. Salas is talking to Mr. Millan
(chepe). The following is the conversation provided in the affidavit:

Chepe: “main guy out there is coming over.”

Salas “By when?”

Chepe “He’ll let you know.”

Salas: “Is he trying to get a Visa.”

Chepe: “Yeah. On that. Already coming. Might go out there to get him.”
Salas: “Is he trying to get it already or what?”

Chepe: “He already has an appointment.”

 

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Salas: “We still need to see what happens What did he put as his dependents so they will give it
to him.”

Chepe: “No, well he going over there dude because with those guys dude he wanted to meet
someone trustworthy.”

Salas: “But. . .it’s uh, he cleared all that up, that guy, the young guy?”

Chepe: “No, well they already. . .left him a little car.”

Salas: “And he’s already done with that and he left the other thing there as well. But now he’s
with that.”

Salas: “Oh, is it almost all. . .did he clear that up?

Chepe: “Already. Everything is good. With, with a good number of rims and well everything.”

Although this conversation does not seem out of the ordinary, Affiant claims otherwise.

Affiant claims that Mr. Salas and Mr. Millan were speaking in coded language in order to elude

35 65 73 “

law enforcement When they use terms like “main guy, out there, over there,” “the other
thing there,” and “rims.” Affiant then goes on to claim that based on his training and experience
he knows that “out there” and “over there” are in reference to Mexico. Based on this code, he
came to the conclusion that this conversation was in regards to a key member of the Salas and
Vazquez Millan criminal drug trafficking organization making plans to get to the United States
from Mexico. Affiant then claims that he believes the remainder of the conversation is about a
pending drug shipment. The key element that is missing from these conclusory statements is
corroboration Affiant is adamant that Mr. Salas is a narcotics’ trafficker and that all
conversations documented relate to his drug trafficking organization but he fails to provide any
surveillance of drug transactions where Mr. Salas is involved. He fails to provide any
information from confidential informants where Mr. Salas actually dealt in a drug transaction
Therefore, Affiant may be accurate about his allegations regarding verbiage used by drug

traffickers, but until he can establish how Mr. Salas fits in that group, his speculatory assertions

due not amount to probable cause.

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In Garcia-Villalba agents actually made drug transactions with the drug trafficking

 

organization; they heard actual conversations about drug transactions and observed members 01

the drug trafficking organization head to the Dunbar residence immediately after intercepting

calls regarding impending drug transactions These observations along with the intercepted calls

supported a complete picture where a magistrate could find that probable cause existed to issue

the warrant. That complete picture that was depicted in the §arcia-Villalba was not offered to

the magistrate in this current case. The magistrate was given speculatory and conclusory

statements and then asked to fill in those holes with more speculatory and conclusory statements

When speculatory and conclusory statements are combined it does not equal probable cause

instead it equals speculation and conclusions, which is insufficient for a finding of probable

cause.
III.
THE WARRANT CANNOT BE DECLARED VALID

PURSUANT TO THE DOCTRINE OF "GOOD FAITH"

The decision in United States v. Leon (1984) 468 US 897, should not shield the warrant

from a judicial determination of invalidity.

lt is anticipated the prosecution will assert the Affiant acted in good faith. However, in

some circumstances an affiant does not have reasonable grounds for believing the warrant was
properly issued.

“Suppression therefore remains an appropriate remedy if the

magistrate or judge in issuing a warrant was misled by information

in an affidavit that the affiant knew was false or would have known

was false except for his...reckless disregard of the truth.[citation

omitted]. The exception we recognize today will also not apply in

cases where the issuing magistrate wholly abandoned his...judicial

role in the manner condemned in Lo-Ji Sales, lnc., v. New York

(1979) 442 US 319, in such circumstances no reasonably well-

trained officer should rely on the warrant. Nor would an officer
manifest objective good faith in relying on a warrant based on an

 

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affidavit so lacking in indicia of probable cause as to render
official belief in its existence entirely unreasonable.[citations
omitted]. Finally, depending on circumstances of the particular
case, a warrant may be so facially deficient...that the executing
officers cannot reasonably presume it to be valid.” United States v.
w (1984) 468 US 897,

M, demonstrates suppression is the appropriate remedy in four situations: (1) the
issuing magistrate was misled by information the affiant knew or should have known was false;
(2) the magistrate, "wholly abandoned his judicial role"; (3) the affidavit was, "so lacking in
indicia of probable cause" that it would be unreasonable for the affiant to believe probable cause
existed and (4) the warrant was so facially deficient that the executing officer could not
reasonably presume it to be valid.

Here, Affiant cannot redeem this “bare bones” affidavit through the good faith exception
Suppression is the only appropriate remedy, seeing that Affiant should not have relied on the
issuance of the warrant.

CONCLUSION
In this case, the issuing Magistrate did not have the required information to establish probable
cause. Here, unfortunately, the magistrate relied on foundationless expert opinion and
conclusory allegations, which does not support a finding of probable cause. As such, the warrant
must be quashed and all evidence suppressed
Dated: September 24, 2014

/s/David A. Torres
David A. Torres

Attomey for Jose Trinidad Salas

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